            Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 1 of 7




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                           Filed: April 28, 2022

*************************
LORI KAISER,                               *      No. 20-1096V
                                           *
                     Petitioner,           *      Special Master Sanders
v.                                         *
                                           *
SECRETARY OF HEALTH                        *      Stipulation for Award; Influenza
AND HUMAN SERVICES,                        *      (“Flu”) Vaccine; Transverse Myelitis
                                           *      (“TM”)
                     Respondent.           *
*************************
Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.
Zoe Wade, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

        On August 28, 2020, Lori Kaiser (“Petitioner”) filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34 (2012).
Petitioner alleged that the influenza (“flu”) vaccine she received on October 10, 2017, caused her
to suffer from transverse myelitis (“TM”). Pet. at 1, ECF No. 1. Petitioner further alleged that her
injury lasted for more than six months. Id. ¶ 37.

         On April 26, 2022, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Stipulation ¶ 7, ECF No. 32. Respondent “denies
that the flu vaccine caused [P]etitioner’s alleged injury or any other injury; and denies that her
current condition is a sequela of a vaccine-related injury.” Id. ¶ 6. Nevertheless, the parties agree
to the joint stipulation, attached hereto as Appendix A. See id. ¶ 7. I find the stipulation reasonable
and adopt it as the decision of the Court in awarding damages, on the terms set forth therein.

          The parties stipulate that Petitioner shall receive the following compensation:

          A lump sum of $55,000.00 in the form of a check payable to [P]etitioner. This

1
  This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2012)). This means the Decision will be available to anyone with
access to the Internet. As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical files or similar files,
the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
            Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 2 of 7




           amount represents compensation for all damages that would be available
           under 42 U.S.C. § 300aa-15(a).

Id. ¶ 8.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

           IT IS SO ORDERED.

                                                          s/Herbrina D. Sanders
                                                          Herbrina D. Sanders
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 3 of 7
Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 4 of 7
Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 5 of 7
Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 6 of 7
Case 1:20-vv-01096-UNJ Document 37 Filed 05/31/22 Page 7 of 7
